     Case: 1:18-cv-03071 Document #: 15 Filed: 06/25/18 Page 1 of 1 PageID #:55



                       IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS

Lightwire, LLC,                                 )
                                                )
                       Plaintiff,               )
                                                )
              v.                                )   No. 18 C 3071
                                                )
Vapor 4 Life Holdings, Inc.,                    )   Judge Rebecca R. Pallmeyer
                                                )
                                                )
                       Defendant.               )

                                            ORDER

       Motions for leave to appear pro hac vice [12, 13] are granted.

                                            ENTER:



Dated: June 25, 2018                        _________________________________________
                                            REBECCA R. PALLMEYER
                                            United States District Judge
